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UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERI CA
v' Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

Defendant

 

JOINT STATUS REPORT

COl\/IES NOW, the United States of America, by and through Special Counsel
Robert S. Mueller, III, and the defendant through his counsel, and file this joint
status report to provide the Court With the current status of this matter.

1. On July 10, 2018, the Court ordered the parties to Hle a status report
by no later than August 24, 2018. Due to the status of its investigation, the Special
Counsel’s Ofi‘ice does not believe that this matter is ready to be scheduled for a
sentencing hearing at this time.

2. Accordingly, the parties respectfully request that they provide a status

report Within thirty days, no later than September 17, 2018.

 

 

Respectfully submitted,
ROBERT S. MUELLER, III ROBERT K. KELNER
Special Counsel STEPHEN P. ANTHONY
BRANDON L. VAN GRACK Attorneys for Defendant

ZAINAB N. AHMAD
Senior Assistant Special Counsels

